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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-00302-PAB-MJW

  YSIDRO LONGORIA,

  Plaintiff(s),

  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and as
  an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA, and
  C.O. CHIEF JOHN DOE 1, in his individual capacity and as an employee of CCA,

  Defendant(s).
                                    MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

         It is hereby ORDERED that Plaintiff’s Motion to Further Modify Scheduling Order
  to Extend the Date of Filing any Motion to Amend to September 1, 2015 (Docket No.
  29) is granted. The Scheduling Order (Docket No. 22) is thus amended so as to extend
  the deadline for joinder of parties and amendment of pleadings up to and including
  September 1, 2015.

  Date: July 17, 2015
